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Case 2:18-cv-OO731-RBL Document 23 Filed 06/21/18 Page 1 of 6

The H.onorable Ro.nald ,B. Leighton

U`NITED STAT.ES DISTRICT COURT
WESTERN DlSTRICT O.F- WASH.I'NGTON

F/~\ITH I`NTERNA'I`IONAL ADOPTIONS,
a Washington State non~prol`lt eorporzxtion;
Al\/IAZING GRACE A_DOPTIONS, a North
Czn'olina non~proHt eorpo_ration; and
ADOPT ABRGA.D l`NCORPORATED, a
Pennsylvania non*pro'lit corporation,

Plainti 'Fl`$,

\,, CaSe `No. 21 l 8-CV~OO731 RBL

DECLARATION OF DONNAS B.

I\/l`l(`,`H/\EL R.. P()_l\/_l`PEO, Secretary for the
United States Department of State, in his
official eapacity; CAR_L C. RISCH,
Ass:istant Seei'etary of Stat'e for Consular
Al‘i‘hxii'$, in his ol`licial eapacity; BETH
_PAYNH, l'f)irector ol"the (`)l":l"loe o'fChildre.n’S
lssues in her official eapacity; UNITE`D
STATES D_EPARTMENT OF STATE; and
COUN'CI\.L (1)N ACCREDITATION FO_R
CHILDRE`N` A'N`D `FA`M`lLY SERVICES,
!NC.”

Del`endants

 

 

 

.K.INTON, ON BEHALF OF AMAZlNG
GRACE ADOPTI`ONS, IN SUPPORT
()F PLAI,NTIFFS’ M.OTION F()R
PRELIM]NARY INJUNCT!ON

l, Donnas B. Kinton, Executive Di'reetor of Amazing, Grace Adoptions ("`AGA")_. do hereby

declare as follows:

.l. l)onnas B. Kinton’s Competency to Supply This I)eclaration.
l. l am over eighteen and am eompetent to make this declaration based upon

personal knowledge unless otherwise Sta.ted.

DEC'I..ARA"l`lON OF I)ON`N/-\S B. KINT(`)N IN
SUPPOR"I` OF Pl.l/\lN'l"ll"`FS’ MOTION FOR
PREL`IMINA'RY l`NJU`NCTION - 22 l 8-CTV-0073'l

ORRch. HERRiNGToN & SuTeLxFFE LI_P
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Case 2:18-cv-OO731-RBL Document 23 Filed 06/21/18 Page 2 of 6

2. l am the Secretary & l_ixecu.tive l)irector oil AGA` a St)l(c)(fl) non~prol'it child
placement agency, licensed in the State ot`l\iorth Carolina and the State ol" l""lorida. 'l"hc agency
was created specifically to ot`t`er counseling services to pregnant women in North ("iarolina and
provide adoption services to qualitied families 'l`or both domestic and international at.loptions.

3. AGA"s organizational structure consists ot` the Board of l)irectors,
Secretary/Exeeutive Director, and Administrative Person, Case Worl<ers (MSW and BSW} and
multiple contracted social workers ('i\/lA).

~l. As AGA’s l`.ixecntive lf)irector, l oversee A(_`iA"s operations and l am
personally lfamiliar with tliein. AGA has regular statl`mcetings, on an as needed basisv in
which all adoption programs and all client cases and status were reviewed

5. Sheila 'l`eague, l\/lSW. is the lead Social Worker. She provides oversight ot`the
contracted social workers pert"onns home studies reviews and approves all horne studies¢ prc»
placement reports and post~plz-tcement reports. and provides case management

(). Jennii`er llolladay is an .Adoption Case Worl<er. .lenni'l`e'r provides adoption
home study services, pre~and post~placement reports, home study reviews and case
management

7. Olivia McClusl<ey is the ,Administrative Assistant/Adoptive lamin coordination
Olivia handles client intake calls and tile management She manang all the mail and is
responsible i`or uploading data onto AGA"s intcr~ageney communication

8. Since its inception AGA has provided birth parent counseling domestic and
international adoption services post placement supervision prc and post adoption services

II. .AGA H argue Accredltat'ion Histor_v

<). AGA was incorporated in l()€)f). AG./~\ has been an agency licensed under North
Carolina law to perl"onn child placement services since 1999 and in the Statc ol` l"`lorida since
2()l 5.

l(l. .AGA has, until recently, been l-iague~accredited since 20()8. AGA applied 'l`or
reaccreditation i`or the tlrst time in 20 l 3. (;`(_)./\ granted AGA"s rcaccrcditation application,
Dl`§(f`l.AR/X'l`l()i\l ()li` l'.)(`.)NNAS B. KINT(§)N IN ORR|CK` HERR[NGTON & S… CLH,,;(L. LU_~,

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Case 2:18-cv-OO731-RBL Document 23 Filed 06/21/18 Page 3 of 6

which set a new accreditation expiration date oi`l\/.larch 3 l, Z()l7. AGA then received a special
oith y '-‘ar accreditation extension available to over 90 agencies under a State Department
regulation which extended A(.iA"s accreditation expiration date to lvlarch 3 lt 2()l X. AGA has
never received a refusal ot` any ot`its reaccreditation applications llntil now; /-\GA`s
experience with the lAA accreditation or r accreditation application processes has been
sn'iooth. t`or the most part

l l . AG/~\ began its most recent reaccreditation application in December oi"?.(ll 7,
utter l had to delay 'liling the application t`or family and health struggles A(`_lA tolled its renewal
applicatiom completed its renewal agreement on December 15, 2017 and paid its renewal t`ee
bel"orc l)ecember 27. `Ztll 7. AGA"s site visit was scheduled t`o'r April l l»l 3, Z(ll 8. As ol"
t\"ovember Ztl_ Ztll"/’i when COA issued guidance l"`or which renewal applications it would
handle ,»*-\(;`i/X was accredited ('_`()/\ continued to process A(.i/\`s latest reaccreditation
application until March 31_ 2018.

12. ,/\ GA is unaware oi" any reaccreditz~ltion appli ‘ation ever being treated as a
"rcl'usal to rencw"` an agency’s accreditation AGA has always understood C(§)A to have
discretion to deter such implications5 even alter an accreditation expires t"or ultimate decision
with ("(`)A.

lll. Harins to A(;A due to the State l)epartment"s Action

l'3. /\G/»\ will endure tinancial harm, because it will imminently lose significant
revenue over time il` its reaccreditation application remains considered as a "'ret`usal to renew"
by (,`(`_)A. because AG/-\ will need to apply as il"it were a new accreditation applicant
("'ompz.iring historical delay in deciding a new accreditation application with any delay with
(,`(`)./\`s contint_ting to process and decide /\G/\`s accreditation renewal application shows that
the tbrmcr process, which would take many months would in turn greatly exacerbate the
tinancial losses that A(`.iA would suffer by being forced to follow the latter process lndeed,

.»'\tl/\`s viability could be uncertain going l`orward.

I,.)l`:`( 'I"/\R"i\“i ).N ms DUI\NAS ]:`z,'..KIN,I`.i-")N IN ORRlci<. HERRiNGTON & Surci.lFFE LLP
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Case 2:18-cv-OO731-RBL Document 23 Filed 06/21/18 Page 4 of 6

14. On average, AG,A generates the following revenue to conduct its operations
AGA cannot sustain these losses over a significant period oi`time, particularly while it awaits
an accrediting decision that would require a brand new accreditation application t`or l~-lag-;ue

accreditation Status.

 

 

him-national Appmxi¥nate;N-o' Appl.OX§mate Total Projected
Hague Hgme of Adoptlon (,ases Revenue Cost per wm
Studies Lost per year Case ` `

Various countries 35~40 $ l_,8(`)() 363,000-$72`()()0

 

 

Post Placernent

 

 

 

 

 

 

 

Supervision 15 (multiple vi sits) $3()0 per visit 513 l 3,5('.)(')
Homestudy
U`pdates , l 0 339th $t)tt)()t)
15. These financial harms could be minimized if (`,`OA could complete processing
AGA’s reaccreditation application immediately
l6. The loss o't" the ability to serve international adoptive t"an'iilies and potentially

open new programs, which derives l"rom the financial harms that AGA has begun to t`eel,
harms A(lA’s ability to fulfill its stated organizational commitment to providing loving and
nurturing adoptive parents for children throughout the world Who need a permanent lamily and
stated dedication to matching caring parents with children who need them Although AGA is a
small agency, losing us will be a loss to the capacity ot"intemationz-)l adt')ptions overall.

l 7. These harms to AG'A"s organizational mission and operations could be
minimized if C(`)A could complete processing AGA."s reaccreditation application immediately

18. AGA will also endure reputational injury from its loss o,t"accreditation. l\/lany
prospective adoptive families have come to trust and promote AGA for its commitment to
ethical adoption practice, to the best interest to the family as a fundamental social group and
to the best interests of children everywhere By losing its accreditation for any extended
periodA AGA`s reputation will erode with the public and perhaps even the families who came
to trust AGA over many years
DECI.-ARATION OF DONN'AS B. KINTON IN

SUPPORT OF PLA[NTlFFS" MOTION FOR
l"R'l:`?l.Il.\/IINARY INJUNC'I`ION - 2118~€\/-0()73`1

ORRch, HERRtNoToN & SuTcLlri-=t: 1-LP
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Case 2:18-cv-OO731-RBL Document 23 Filed 06/21/18 Page 5 of 6

l 9. 'l`his reputational harm could be minimized if COA could complete processing

.A.GA"$ reaccreditation application immediately

l declare under penalty ot`perjury pursuant to the laws of the United States that the
foregoing is true and correct

Dated this Z`l st day ot`June, 2018, in Washington, D.C.

ilhn/l/Zo> g eKn/hnk/

Donnas B Kinton Executive Dire}ctor
Amazing Grace Adoptions

r`)t-:ci.atc`i"rton or permits B: i<_lNroN IN ORR,CK' HERR]NGTON & SUTCUFFE LLP
S>UPP()RI ()l~ PLAlNl ll“l‘S' l\/lOIlON FOR. ~ 5 ~ _ 701 Fiah Avenue. Suite 5600
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Case 2:18-cv-OO731-RBL Document 23 Filed 06/21/18 Page 6 of 6

CERTIFICATE ()F SERVICE

l hereby certify that on the date below, l caused the tbreg,'oing document to he

electronically liled with the Clerl<; ot` the Court using the Cl\/t,/ECl-`“` system which will send

notification ot` the filing to all counsel o'i"record.

DA"l`lED: .lune ll , 20l8 ORR_lCK l*lERRlNG"l"ON & Si_l“l"(f‘l_...li"`l""lf"", l-l..i"
By: /s/ /€()[;)cr! __M. M<r!'\’r>H/Icz

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Robert i\/l. i\/lcl§enna (WSBA l\lo. 18327)
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